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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MANUEL BE JESUS ROSARIO,

Plaintiff, 15-ev-6049 (JSR}

-against— MEMORANDUM ORDER

MES HIJOS DELI CORP., PALMA
GROCERY CORP., 251 E. 123RD
ST. REALTY, LLC, JOSE PALMA,
LEONIDA COLLADO, and JUNIOR
PALMA,

Defendants.

 

 

 

JED 5S. RAKOFF, U.S.D.d.

Before the Court is the motion of plaintiff Manuel de Jesus
Rosario for an order finding defendants 251 EB. 123rd St. Realty,
LLC (“Realty”), Jose Palma (“Palma Senior”), and Jose Palma Jr.
(“Palma Junior”) (collectively, the “Transferring Defendants”)1 in
contempt for transferring the property located at 251 E. 123rd
Street, New York, NY 10035 (the “Property”) in violation of an
Order of this Court dated March 12, 2020 (the “March 12 Order”).
Relatedly, plaintiff seeks to obtain discovery of the Transferring
Defendants communications with prior counsel relating to their

alleged knowledge of and involvement in the contested transfer

 

1 Plaintiff does not bring this motion against defendants Mis

Hijos Deli Corp., Palma Grocery Corp., and Leonida Collado.

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(the “Transfer”). For the reasons set forth below, the motion is
denied without prejudice to renewal.
I. Background

This case began on August 3, 2015, when plaintiff sued
defendants, claiming that during his time as an employee for
defendants, they failed to pay the minimum wage, overtime pay, and
spread of hours pay required by the Fair Labor Standards Act and
the New York State Labor Laws. Dkt. No. 1. On March 3, 2020, after
a jury trial and jury verdict in favor of plaintiff, the Court
entered judgment for plaintiff in the amount of $89,670.35. Dkt.
Nos. 157 & 162.

On February 14, 2020, during post-trial proceedings, counsel
for plaintiff made an oral application for an order preventing the
defendants from transferring or encumbering the Property. See
Transcript dated February 14, 2020, Dkt. No. 185, at 14:11-21.
Counsel for plaintiff also requested temporary relief to that
effect, pending the Court’s decision on the motion. Id. at 16:6-
11. The Court denied the motion for immediate relief, observing:

I have been impressed by both counsel’s respect for the

rule of law throughout this trial, and I think defense

counsel will simply tell his clients: Don't do anything

about this building or any Similar asset until the judge
rules on March 6. I think that's good enough. I don’t
think we need anything more formal. I had a chance to

have all three personal defendants take the stand. I got

a good feel for the fact that though they may have made

mistakes in the past, they seem to have turned the corner
and seem to be anxious to keep their nose clean, so to

 
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speak, in the future. So I don't think we need anything
more formal.

Id. at 16:12-23. Soon thereafter, plaintiff filed a written motion
for the same relief. Dkt. No. 161. Defendants did not oppose. On
March 12, 2026, the Court granted the motion and issued an
attachment order, restraining “defendants, their agents,
subdivisions, servants, employees, successors, and attorneys

from directly or indirectly transferring or encumbering the
[Property].” Dkt. No. 166.

On September 14, 2020,2 plaintiff brought the instant motion
for contempt against the Transferring Defendants, alleging that on
September 1, 2020, they filed a deed dated January 28, 2020 (the
“Deed”), transferring the Property from Realty to Maria M. Vallejos
as Trustee of the Jose Palma Irrevocable Trust (the “Trust”). Dkt.
No. 182.3 Plaintiff also seeks to obtain discovery of attorney-

client communications relating to the Transfer.

 

2 That same day, the attorneys that had been representing the
defendants moved to withdraw from the case on the ground that they
were no longer getting paid. Dkt. No. 178. Over plaintiff's
opposition, the Court granted the motion to withdraw on October 6,
2020. Dkt. No. 191. Defendants remained unrepresented until Joseph
Nohavicka, Esq., entered a notice of appearance on their behalf on
November 13, 2020, Dkt. No. 192, at which point the Court finalized
the briefing schedule on the instant motion, Dkt. No. 200.

3 A few days before filing the instant motion, plaintiff also
brought a new action, since assigned to the undersigned, alleging
that the Transfer was a fraudulent conveyance. See 20-cv-7387,
Dkt. No. 1. Discovery is ongoing in that action.

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TI. Discussion

A. Motion for Contempt

 

Plaintiff contends that the Transferring Defendants violated
the March 12 Order by transferring the Property from Realty to
Maria M. Vallejos as Trustee of the Trust on September 1, 2020.
The Transferring Defendants respond that contempt is unwarranted
either because the Property was actually transferred on January
28, 2020, before the March 12 Order barred them from doing so, or,
in any event, because the Transfer has since been unwound.

* TA] district court’s contempt power is narrowly

circumscribed.” Gucci America, Inc. v. Weixing Li, 768 F.3d 122,

 

142 (2d Cir. 2014). To warrant contempt, the moving party must
show “that (1) the order the contemnor failed to comply with is
clear and unambiguous, (2) the proof of noncompliance is clear and
convincing, and (3) the contemnor has not diligently attempted to
comply in a reasonable manner.” Id.

Here, the parties largely focus on the second element and
dispute whether plaintiff has presented clear and convincing
evidence that the Transferring Defendants transferred the Property
in contravention of the March 12 Order. Under New York law, “[a]
grant [of real property] takes effect, so as to vest the estate or
interest intended to be conveyed, only from its delivery.” N.Y.
Real Prop. Law § 244, “As a general rule, a deed is presumed to

have been delivered and accepted at its date.” M & T Real Bstate

 

 
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Trust v. Doyle, 20 N.Y.3d 563, 568 (2013). This presumption may be
overcome, however, “by evidence of the parties’ actual intent.”

Wisdom v. Reoco, LLC, 162 A.D.3a 1380, 1382 (3d Dep’t 2018). It is

 

undisputed here that the Deed was dated January 28, 2020. See
Plaintiff's Memorandum of Law in Support of Motion for Contempt
(“PL. Mem.”), Dkt. No. 184, at 2. A presumption therefore attaches
that the Deed was delivered, and the Property transferred to the
Trustee, on January 28, 2020, that is, before the March 12 Order,

To overcome this presumption, plaintiff contends that the
transferring parties -- namely, Palma Senior as grantor and the
Trustee as grantee -- did not intend for the Property to transfer
on that date. Plaintiff points out that the Trustee was not
involved in the Transfer; rather, Palma Junior executed the Deed
as “attorney in fact” for the Trustee, Id, at 2-3. Plaintiff
speculates that this enabled Palma Senior to execute the Deed
“without unequivocally intending to transfer title” and to “retain
the Deed and destroy it if there was no liability found at trial
against defendant Realty, but to have an earlier transfer date in
the event liability was found.” Id. Because the purported grantee
was not involved in the Transfer and the Deed was not recorded for
months thereafter, plaintiff insists there is sufficient evidence
to overcome the presumption and conclude that the Deed was not

actually transferred until it was recorded on September 2, 2020.

 
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In response, the Transferring Defendants contend that they
took no action after the Deed was executed on January 28, 2020.
See Memorandum of Law in Opposition to Plaintiff's Motion for
Contempt (“Def. Mem.”), Dkt. No. 195, at 3. According to the sworn
declaration of Palma Senior, the Transferring Defendants believed
that the Deed had been sent to the title company to be recorded,
and they do not know why it was left unrecorded until September 2,
2020. Declaration of Jose Palma in Opposition to Plaintiff’s Motion
for Contempt (“Palma Decl.”), Dkt. No. 194, at 4 13-14. Since
none of the Transferring Defendants took any affirmative action in
contravention of the March 12 Order, the Transferring Defendants
conclude, they should not be held in contempt of that Order.

Plaintiff, however, argues that this is no defense at all. To
the contrary, by acknowledging that they took no further action
with respect to the Transfer after January 28, 2020, the
Transferring Defendants effectively concede that the Deed was not
delivered to the Trustee, at least until it was recorded.
Plaintiff’s Reply Memorandum of Law in Further Support of Motion
for Contempt (“Reply”), Dkt. No. 203, at 2,

As a second defense, the Transferring Defendants report --
and submit corroborating documents to show -- that the Properly
was transferred back from the Trustee to Realty on November 23,
2020 and a subsequent deed was sent for expeditated recordation on

November 25, 2020. Supplemental Declaration of Joseph D. Nohavicka

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in Opposition to Plaintiff’s Motion for Contempt (“Def. Supp.”),
Dkt. No. 201, II 2-3.4 Nohavicka -- who was only retained after
the Transfer was made -- assures the Court that he advised his
clients that the Transfer, even if made in good faith, was “ill-
advised.” Def. Mem. at 3.

This is not to say that the circumstances regarding the
Transfer seem any less suspicious, and give the Court pause as to
whether its earlier confidence in defendants, as set forth on pages
2-3, supra, was misplaced. Nevertheless, the Court, for now, denies
plaintiff's motion for contempt. As the Transferring Defendants
now recognize, the initial transfer, made on the eve of trial, was
ill-advised. Indeed, it may well have been a fraudulent conveyance,
an issue that is currently being litigated in the related action
before this Court. However, even assuming arguendo that plaintiff
has overcome the presumption that the Transfer occurred on January
28, 2020, plaintiff has provided no evidence that the Transferring
Defendants themselves took any action to complete the Transfer
after the March 12 Order. While the Deed was recorded on September
2, 2020, the Transferring Defendants swear that they were not

involved in recording the Deed and do not know the cause of the

 

4 Plaintiff contends that the supplemental declaration should
be disregarded because it was submitted without prior leave of
the Court. Reply at 3. While the Court will not disregard the
supplemental declaration, it reminds defense counsel that
parties must receive prior leave of the Court before making any
submission,

 
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months-long delay between the execution of the Deed and its
recordation. See Palma Decl. (9 13-14. Instead, they affirm that
they believed that, upon execution, the Deed would be forwarded to
a title company that would then record it. See id. 7 14. In other
words, they believed, perhaps wrongly as it turns out, that the
Property had been transferred before the March 12 Order. Crediting
that sworn testimony, the Court will not, on the present record,
find the Transferring Defendants in contempt for their failure to
stop a transfer that they assert that they believed had already
been completed, especially considering it has since been unwound.
On that last point, the Court acknowledges plaintiff's
concerns over the efficacy of the second deed that purportedly
unwound the Transfer. That deed, plaintiff points out, was executed
not by the Trustee but by Palma Senior, and there is no indication
that Palma Senior signed it other than in his individual capacity.
Reply at 3-4. Moreover, the Trust is an irrevocable one, and there
is no evidence that establishes under what conditions, if any,
property belonging to the Trust could be transferred out. Id. at
3. To ensure that the Transfer has, in fact, been unwound, the
Court directs defense counsel to work with his clients to cure the
deficiencies identified by plaintiff in the subsequent deed.
While the Court denies plaintiff's motion at this time, the
denial is without prejudice. That is, plaintiff is free to renew

the motion in the event that discovery in the ongoing fraudulent

 

 
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conveyance action turns up further evidence of misconduct on the
part of the Transferring Defendants.

B. Request for Discovery of Attorney-Client Communication

 

Plaintiff also requests that he be permitted discovery of
communications between the Transferring Defendants and prior
counsel concerning the Transfer on the basis of the crime-fraud
exception to attorney-client privilege. Pl. Mem. at 4. “A party
wishing to invoke the crime-fraud exception must demonstrate that
there is a factual basis for a showing of probable cause to believe
that a fraud or crime has been committed and that’ the
communications in question were in furtherance of the fraud or

crime.” United States v. Jacob, 117 F.3d 82, 87 (2d Cir. 1997),

 

abrogated on other grounds by Loughrin v. United States, 973 U.S,

 

351 (2014) .°

To satisfy that burden, plaintiff largely relies on the
suspicious timing of the Transfer, inferring that “everyone
involved knew that the Trust was being created, and the [Property]

was being transferred into the Trust solely to fraudulently shield

 

3 Some lower courts have pointed out that the Second Circuit
has applied the “probable cause” standard only in criminal
proceedings, see, @¢.g., In_re Omnicom Group, inc. Securities

 

Litigation, No. 02-cv-4483 (WHP) (MHD), 2007 WL 2376170, at *9
(S.D.N.Y. Aug. 10, 2007), leaving open the question whether the
same standard should apply in a civil proceeding like this one.
Here, however, plaintiff assumes that the probable cause standard
applies to the instant dispute, Pl. Mem. at 4, and the Court will
assume the same.

 
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the [Property] from Plaintiff's collection efforts.” Pl. Mem. at
4. Plaintiff has a point: the Trust was created on May 1, 2019,
well after litigation commenced, and the Deed was executed on
January 8, 2020, just eight days before trial was set to begin.
Pl. Mem. at 4.

Even if the timing of these events were enough to establish
probable cause of the existence of fraud, however, the Court finds
that plaintiff has failed to establish that former counsel engaged
in any attorney-client communication in furtherance of that fraud.
On that front, plaintiff simply speculates that “[ijt is
inconceivable that from May 1, 2019 to September 1, 2020
[Defendants] did not discuss and seek the advice of their counsel
in setting up and carrying out this scheme. Id. at 5. But
plaintiff’s theory would effectively abrogate the second prong of
the crime-fraud exception in fraudulent conveyance actions, where,
as here, the moving party articulates an inchoate suspicion that
lawyers must have somehow been involved in effectuating the
contested transfer. Without, at least, some evidence that former
counsel were involved in the creation of the Trust or the
effectuation of the Transfer, the Court will not pierce “the oldest
of the privileges for confidential communications known to the

common law.” Upjohn Co. v. United States, 449 U.S. 383, 389,

 

(1981). Accordingly, plaintiff's request for discovery of

attorney-client communication is denied,

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The Clerk of the Court is directed to close docket number

 

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SO ORDERED.
Dated: New York, NY Cr A DLs
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December 4, 2020 JED S. RAKOFF, U.S.D.J.

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